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16
                            UNITED STATES DISTRICT COURT
17
                          NORTHERN DISTRICT OF CALIFORNIA
18

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     OWEN DIAZ,                                 Case No. 3:17-cv-06748-WHO
20
          Plaintiff,                            DECLARATION OF KELLY
21
          v.                                    ARMSTRONG IN SUPPORT OF
22                                              PLAINTIFF’S MOTION FOR
     TESLA, INC. dba TESLA MOTORS, INC.;        ATTORNEY’S FEES
23
          Defendant.                            Trial Date: March 27, 2023
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                                                Complaint filed: October 16, 2017
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               DECLARATION OF KELLY ARMSTRONG IN SUPPORT OF ATTORNEY’S FEES
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1                               DECLARATION OF KELLY ARMSTRONG
2    I, Kelly Armstrong, declare as follows:
3            1.      I am the founder of The Armstrong Law Firm, A Professional Corporation. I am a
4    member in good standing with the bar in the State of California, United States District Court for the
5    Northern District in California, Ninth Circuit Court of Appeals, California Supreme Court and the
6    Supreme Court of the United States of America. I have personal knowledge of the matters set forth
7    herein and if called to do so, I could and would testify to the foregoing matters. I make this
8    Declaration in support of Plaintiff's Motion for Attorney's Fees on Appeal.
9            2.      I received a Bachelor of Arts degree from the University of California at Berkeley
10   where I also received multiple scholarships and was admitted into Phi Beta Kappa. I received a Juris
11   Doctor degree from the University of San Francisco where I received a scholarship. I worked in the
12   field of labor and employment law for three years as a law clerk, when I also joined the California
13   Employment Lawyers Association (CELA) and the National Employment Lawyers Association
14   (NELA) as a student member. I have practiced law since 2001, working in labor and employment
15   law for three years as an attorney before founding my own law firm in 2004. I presently have four
16   employees and multiple attorneys working on our cases. I regularly co-counsel cases with other
17   plaintiffs' civil rights lawyers in Northern California.
18           3.      Since becoming an attorney, I have represented hundreds of plaintiffs in wrongful
19   termination and employment discrimination cases. I estimate that I have represented over 500
20   plaintiffs successfully in Labor Code and wage and hour violations cases, whistleblower cases,
21   wrongful termination and harassment cases, including cases alleging discrimination on the basis of
22   gender, race, physical disability, age and actions alleging sexual harassment.
23           4.      I frequently lecture and write articles regarding multiple areas of employment law.
24   Most recently, I lectured regarding employment discrimination topics to multiple professional
25   groups in California and nationally in 2018-2019. Additionally, I was on the California Employment
26   Lawyers Association (CELA) annual employment panel in October 2017 and the American
27   Association for Justice (AAJ) panel in July 2017 where I discussed different areas of employment
28   law. I am an active member of the California Employment Lawyers Association (CELA), National
     Employment Lawyers Association (NELA), Consumer Attorneys of California (CAOC), American

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1    Association of Justice (AAJ), San Francisco Trial Lawyers Association (SFTLA), Public Justice and
2    Northern California PELA-CABAL. I have been ranked in the top 5% of employment litigation

3    attorneys by my peers in Northern California from 2015 through present.

4            5.       I know Dustin Collier and V. Joshua Socks personally. Both were employed by my firm

5    as associates early in their careers. I am also familiar with Mr. Collier through the California plaintiffs

6    employment lawyers bar. He is regularly described as brilliant and an excellent litigator and trial lawyer.

7    Mr. Socks is also highly intelligent and an excellent legal writer. Their firm has emerged as one of the

8    top plaintiffs’ employment law firms.

9            6.       I have personal knowledge of the hourly rates charged by other attorneys with varying

10   experience levels in the Bay Area legal market. Mr. Collier's requested rate of $750/hour is frankly a

11   bargain based on his reputation and accolades. It is certainly reasonable and in line with the rates of

12   other attorneys in the Bay Area litigating employment cases. V. Joshua Socks' requested rate of

13   $700/hour is also reasonable, considering his experience level and the successful result this team of

14   attorneys had in this and other cases. Based on my knowledge of the rates charged by employment

15   attorneys in the Bay Area, I believe these requested rates to be well within the reasonable range for such

16   rates and undoubtedly at the low end for attorneys of comparable skill and experience in the defense

17   bar. These rates also appear to be consistent with the non-contingent hourly rates changed by law firms

18   of comparable caliber, experience level, and reputation for similar work.

19           7.       Although I am less familiar with their work, I also find the rates requested for Drew F.

20   Teti ($550/hour), Elizabeth Malay ($400/hour), Michael Rubin ($1,275/hour), Bernard Alexander

21   ($1,200/hour), Lawrence Organ ($975/hour), Cimone Nunley ($500/hour), Marqui Hood ($900/hour),

22   Navruz Avloni ($725/hour), Jonathan Rosenthal ($650/hour), Britt Karp ($675/hour), Corinne

23   Johnson ($825/hour), and Sam Hull ($550/hour) to be consistent with the rates charged by attorneys

24   with comparable skills, experience, and reputation throughout the Bay Area.

25           8.       Taking contingency fee cases with relatively minor economic damages like this is risky

26   and takes just as much time, effort and skill as a case on behalf of a technology worker or Chief

27   Executive Officer. In reality, it often takes more time, effort and skill because when the economic

28   damages are low the case is not taken seriously by defense counsel. That is why attorney fee awards, and
     more importantly multipliers, are essential to encourage lawyers to prosecute meritorious cases even


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1    when the plaintiff is a low wage worker who does not have the special damages that a higher wage
2    earner would be entitled to recover. Without a fee award in cases such as these, even attorneys who

3    believe in the cause will be unable to accept and prosecute claims like these. Workers throughout the

4    State of California will suffer from the lack of labor and employment law enforcement. Moreover, law-

5    abiding businesses and the public at large will suffer, as those employers who violate employment laws

6    with impunity will go unpunished, gain an unfair advantage over compliant employers in the

7    marketplace, and ultimately come to dominate that market as they drive their competitors out of

8    business.

9            I declare under penalty of perjury and the laws of the State of California that the foregoing is

10   true and that this declaration was executed on this 25 day of October, 2023.

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                                                           Kelly Armstrong
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                                                           The Armstrong Law Firm
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                 DECLARATION OF KELLY ARMSTRONG IN SUPPORT OF ATTORNEY’S FEES
